@}008

 

 

 

 

 

95/03/2097 13.‘07 FAX 309 766 82{)2 CGRP LAW EC
(’15/01/200’}' 07:40 FAX 6158986435 Fi!‘& CS.T.Z ,_ @§002
. _ l- - 1 .- ' l ` l ..
` `.J §._ xi a F§f:-;‘:`i...'" " - '
‘ ` ` §')q 10 q § q§V ‘ ' news Bv ¢s. aims mcraan
. w l vt
m ms macon comm m= samst coumv, munrg§§‘é§ adm
MART;-JA A, cooz< and 1 acme mr
I€ENMETH W. GOOK l GQPJESTG
v_ Plamf¥ffs § seem No. jt gyle
` § .mRY BEMAND
S‘\'ME FARM MuTuAL nom rNsuRANcE ‘ C*RCU’T CUURT
company . 1 § Fru§g
natundant } D:ka ` loeb

compwm ` Tfme"°*'M"_~B-!‘l~~-~' W

ayfa H. Miifer, Cierk

 

Now emma the Piaintih“s and for their cause of action say:
1, Plain’rim axe mamed and are citizens and residents of Brad|ey Cuunly,
Temessee.
2. D&f$ndanf Sfate Fal'm Ml.rfual Autn fnsurance Compuny, is, upon
knowledge and bet?ef, a Tennessee fieensed insurance company. doing §usines.s in the
Staha of Tenneasee.
3. durisdidion and venue are approp:iate in this case, as Piaintfffs are
Tennessee rasidents. and were Siate F-'azm Mutugi Auto insurance Cnmpany policy
bowers m all times maien'a! herein.~

4. On May ?_ 2005, P!a?ntiffs Kennetb and Martha Conk were traven'ng

 

through fha Sfafrz of Geotgia, aiang wifh.l!'leir daughter, Hannah Cc)ok. Fiain€fff Ma|"!ha

Coc)l< was traveling in a 1999 Fm'd Exp!c)mr. and her husband and d§ tighth were

 

 

traveling in a aeparate vehicie. As both vehicles approached the outsksds of Mar:on,
Georgia, a tire treas on Plaintiff Martha Co=o%c's vehicie became sepam 3 and P!ainiiff
Martha Cook sudderziy and without waming lost control of her vehicie, which violenfiy
struck a guard ra:`I. Piaintiff Martha Cook was suddemy and violeme ihr about the

interior of her vehic!e, and suffered great bodi}y harm Plafntiffs aver that at all times

…

Case 1:07-cv-00108 Document 1-1 Filed 05/14/07 Page 1 Of 6 Page|D #: <page|D>

 

 

05/03!20£7 13:07 FAX 309 766 8202 CGRP LAW EC lIGB?

 
 

05/01/2007 07:40 AX 8158933435 Fir-e Cal:

 

Pialnlll’f M-artha Cnok was operating her vehicle in a safe, careful and prudent manner
'm amrdance with all applicable laws uf the Stata of Gecrgia.

5. immediater subsequent to the collisionl tha sepamt@d tire tread was
found riot far from the Plaintil?s vehicle. Th;a tire tread had sepamled fmm F'laint.'rrl’s
vehicle shortly before her loss of commi, dau.sing her collision with § guamrail.

E. As a result of the collision. Plaint?ff Martha Cook sustained serious and
disabling bodin injuries Scime mr all of the injuries may be paramount in natural Plaintiff
has suffered in both body and mincl, and l=lainlil¥ Martha Coolc has been formal to incur
or become liable for numerous mediwl, doctor and other related expenses and expects
to continue to incur medical expensés in connection wllh her cane and treatmeni in ihs-3
iuture.

` Y_ PIaintist auer that the accident and milling injuries‘ damages and losses
were occasioned lhwcth rio fault or negligence nn the parr of Plaintiff, hal solely as the
result uf the negligent manufacture of the tire or wheel and _component paris on
Plaintil¥’s vehicle.

3. l Subsaquent to the` wolfision. on or about May 7, 2005, P!aintil'fs‘
automohne casualty and liability insurer, State Farm Mu£uai Aulc) insurance Company.
spoke to the Plainliffs about the blmun{sianm and cause of the collision, and took
possession of Plainfiffs’ separated tire kead. tire, and wheel (“t.l*le evidence"). for use in
pursuing a subrogation claim against any third party found liable for the collision

9. On Febrzzary 21. 2007, Plainflffs were confirmed by Defendant Stale F-`arm
animal Auw insurance ammar-m and advised by newde Slal;@ Farm males misc

lnsurance Company lhat the evidence taken by Delendant State Fszm'l Mut'ual Aul;a

Case 1:07-cv-00108 Document 1-1 Filed 05/14/07 Page 2 Of 6 Page|D #: <page|D>

 

05/03/2007 13:07 FAX 309 766 8282 CORP LAW EC [DUDS

  

05/81/2007 07241 FAX 3158986465

 

insurance Cnmpany had been ias’c ur destroyed or both while in the ws!ndy and cryan

of Defandant State Farrn Mutual Auf:o insurance Ccmpany. Pfaintiffs were unaware until
being advised by oerendant state Farm umwa Auro insurance company that the
america had been lost andror mmyeu.

1!). As a direct and proximate éausa of tha aforesaid luss and spoliaticrx of
Pla§ntiffa’ evidence, Plaintiffs" light to recover against the tire manufacturer was
negligently inst and extinguished by defendant Sl:afe Farm.

11. F'iaintrl`r' Ker:neth Cooic avera that ha suffered a ives of consortium and
services of his wife and was forced to suffer in both body and mind as a result of
injuries, damages and losses sustained by his wife.

12. Piaintiffs further aver that the Dafendant breached its contractuai
agreemrrt with the Pfaintiifs, as the Defendant took possession of the ewdaraca, upon
knowledge and belief in pursuit of a subrogation interest pursuant to the partiea'
waurzance contract and lost or destroyed the evidence that was crucial in proving the
Plairrtifis’ claims against any third party for negligent product manufacture. T‘hia breach
Was aggravated _by the failure of Deféndanl: Siate Farm Mutual Auto insurance
O¢:mpany to promptly communicate this loss tn the Piainti¥fs.

13. Plaintiffs aver that a bailment esdsbed, in that Plaintiffs delivered to the
Defendent property pursuantto a contract, for me purpose of storing and analyzing the
property, which»said property was not in fact stored but was lost or destroyed and
hence. never remmed to Plaintiffs. Defendanf negligently breached its duty as a baiior.

14. Pfaintiffa aver that the Defendanf violated the Tennassee Consumer

Proi:ectinn Act, in that the Derfendarrr committed an unfair and deceptive act under

Case 1:07-cv-00108 Document 1-1 Filed 05/14/07 Page 3 Of 6 Page|D #: <page|D>

05/03/2(307 13:07 F.=‘+.X 309 768 8202 CORP LAW EC .009

US/Q}_/BBG? U'?.'¢l FAI 6158988 35 Fll‘e CBI

    

`¥'.CA. 4?~18-‘£04, by ios'ing or destroying the evidence, as dewi!ed in the paragraphs

above

15. P!ainiifis aver thai ihe Defendant was negligent in its actions in msing or
destroying Pfaintiffs‘ shared evidenca. and this negligence was both the proximate and
actual cause of Plaintiffs' exph'ati`on ané loss of their rights to pursue a negligent
products manufacture claim against any liable third parties.

16. F‘iainiifis further ever thai the Dafendant has acted in bad faith, by fai!ing to
adequate¥y inform the Pfainiiffs as h':i the kiss or destrui:iicn of P!aintiffs ¢=.;videnca, and in
failing to promptly compensate the P!airrtlt¥s for the loss of the tire tread, in violation of

-T_ C_ A_ 56~7~'¥£]5.
PREMISES CGNS!DERED, Plain§h’s pray:

|lii¢

A. That upon hearing of this cause the Piainii§‘s be granted a judgment
against the Defendant in the amount of Thrae Hundrecl Fifty Thousand Dol!ars
{SBBO¥UDU.DO) compensatory damages for the tossfdestruction of Plaintiffs‘ evidence.

~ B. That P|air'rtiffs be awarded trebie damages fn the amount of Om=: Mi|iion,
Fif'ty Tnousand Doliars {$‘¥,650,.000.06} against the Defendant pursuant to the
TBHF!€S$GQ Consuma:‘ Profe€tiarl ACE, T,C.A. Secfi€m 47~13~'109{&){3), and reasonable
momeys fees and casts pursuant w T.c.`.¢x 47»13-109(€}(1).

C. That P!aimiifs ha awarded Eighty»$even Thousand Five Hundred Dc!lars
{$B?,SUD.GD) as a twenty»iive percent bad faith panaliy, pius atbomey‘s fees, pursuant

 

to `¥‘. C. A. 58-7-'105. .
WHEREFORE, Flaint'rifs pray that a judgment be entered in favor of fha Piait'ltiff's

against the Deiendani, plus reasonable aucmeys’ iam and the costs ofthis cause.

 

Case 1:07-cv-00108 Document 1-1 Filed 05/14/07 Page 4 Of 6 Page|D #: <page|D>

05/03/2007 13:07 FAX 309 766 820?. CORP L.»’e.\"r' EC

 
  

Fire Cat

 

0/0/12007 0?:42 FAX 6158988465

 

DUNCAN & HATCHER., P.C.

BY /§/\,
christopher Ufmarkei. BPR #20850
Aitomeys for Plainti§'s l ‘ -
701 Mari<er everet, Suite~ 1000
chateanwga, TN 3?402 l

{423) 265-2257 ia)<f 285-89[}7

$'l`A'|`H OF TENNE$SEE, `
- C(JUN l |
I, Gn}*la I-L M.\|l~':= C'$¢::D f'" the f;;n£t:¢,?€£u%d.:z.~.

f_`.' ‘ '
o:daz;ly. doh¢r¢. , umw m -_ ar¢. tcm-going isn ¢':._-m;.;,

C%WJM __ _____#,.C#~¢l_l§s:o£ m
appears on le'r. \ `¢ :._ k ns v
%'¥T?\IESSmyinnnd.v'¢.`rh. r-'J S.~'. vi ul`f“m”“ '1’ " "
'T`mm=m.¢.* Thu' -'r-' "" “ * n ~"mand'

...~... ....... -.
f

2 _ .
° __ _ . ... MLLER aug
D‘=Pu!y Cierk

  
  

l l‘ii

 

Case 1:07-cv-00108 Document 1-1 Filed 05/14/07 Page 5 Of 6 Page|D #: <page|D>

05/03/2007 13:08 FAX 309 766 8202 CORP LAW EC @011

5/{)]_/2007 07:42 AI 615 988485 Flre CB.T.

 

}N THE C{RCUIT CDURT OF BRADLEY CGUN`!Y, TENNESSEE

MAR?`HA GQOK and KEMNETH CDUK
mem m _M_:_¢l:?_.;?~_€’*

)

1

v. )

, wm newman
3

S`}`ATE FARM lN$URAHCE COMPAM

COST BUND
| hereby acknowledge and bind Duncan & Hstcher for the prosecution of all
nondiscretionary costs in this Csurt which may at any lime be adjudged against the

Fiaintiff in the event said Piaintif‘? shall not pay the same.

DUNCAN 81 HA“YCHER

MS
Chrisb::pher D. Mark€l. BPR #020850
Ath:!me‘y for Plainiiffs
701 Nla!k€!f SUEEL Suife 1000
Ghaitanooga, TN 37402
{423) 265-2297
far (423} 2653997

C¥RCUTT COURT
FILED

Dafe,n¢]:¢£_l.¢£_£?,_e.@
"f'§me ig '. §f£§; \M
Gay|a H- Mii]er, Cierk

 

Sumtyan a bond for weis shall nci bn refused from the Qb!igaxi<m as study emil there is provision ibt n simmizm».-
smety.

Case 1:07-cv-00108 Document 1-1 Filed 05/14/07 Page 6 Of 6 Page|D #: <page|D>

nl“‘ nnnnnnnn lhme nw nn- rm\n .-..w ‘v.\. _.....-- rm..,.-.~

